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11
                              UNITED STATES DISTRICT COURT
12
                      FOR THE CENTRAL DISTRICT OF CALIFORNIA
13
                                   WESTERN DIVISION
14
15   CHRISTOPHER HOBBS,                        No. 2:18-cv-0480 PSG (Ex)
16              Plaintiff,                     NOTICE OF MOTION AND MOTION
                                               TO DISMISS BY DEFENDANTS
17                     v.                      RANDALL DEVINE AND THE
                                               UNITED STATES OF AMERICA
18   RANDALL DEVINE, an individual;
     THE UNITED STATES OF                      MEMORANDUM OF POINTS AND
19   AMERICA; AND DOE                          AUTHORITIES
     DEFENDANTS 1-50,
20                                             Hearing Date:   September 24, 2018
                Defendants.                    Hearing Time:   1:30 p.m.
21                                             Ctrm:           6A, in First Street
                                                               Courthouse
22                                             Hon.            Philip S. Gutierrez
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 1                    NOTICE OF MOTION AND MOTION TO DISMISS
 2           PLEASE TAKE NOTICE that on September 24, 2018, or as soon thereafter as
 3   they may be heard, defendants Randall Devine and the United States of America will,
 4   and hereby do, move this Court pursuant to Fed. R. Civ. P. 12(b)(1) and 12(b)(6) for an
 5   order dismissing the claims asserted in the Complaint that plaintiff Christopher Hobbs
 6   filed on January 18, 2018 [Dkt. No. 1]. This motion will be made in the First Street
 7   Courthouse, before the Honorable Philip S. Gutierrez, United States District Judge,
 8   located at 350 West First Street, Courtroom 6A, Los Angeles, California 90012.
 9           Defendant Devine moves to dismiss Plaintiff’s constitutional tort claims on the
10   grounds that Plaintiff’s Complaint does not state an actionable Bivens claim pursuant to
11   the Supreme Court’s delineation of Bivens liability in Ziglar v. Abbasi, 137 S. Ct. 1843
12   (2017). The United States moves to dismiss the Plaintiff’s California-law tort claims on
13   the grounds that 28 U.S.C. § 2680(k) bars Federal Tort Claims Act liability for injuries
14   sustained outside of the United States. The United States further moves to dismiss
15   Plaintiff’s California-law claim for libel/slander/defamation on the grounds that 28
16   U.S.C. § 2680(h) bars FTCA liability for “[a]ny claim arising out of” libel or slander.
17           This motion is made upon this Notice, the attached Memorandum of Points and
18   Authorities, and all pleadings, records, and other documents on file with the Court in this
19   action, and upon such oral argument as may be presented at the hearing of this motion.
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 1         This motion is made following the conference of counsel pursuant to Local Rule
 2   7-3 which took place on May 31, 2018.
 3
 4    Dated: July 13, 2018                   Respectfully submitted,
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                                                /s/ Daniel A. Beck
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12                                           And the United States of America
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 1                   MEMORANDUM OF POINTS AND AUTHORITIES
 2   I.    INTRODUCTION
 3         This case, based on alleged extraterritorial injuries, does not belong in this Court.
 4   Plaintiff Hobbs’ Complaint [Dkt No. 1] asserts (1) two constitutional tort claims against
 5   individual defendant Randall Devine and (2) two state law tort claims against the United
 6   States. As the basis for those claims, Hobbs alleges that Devine—an FBI Special
 7   Agent—instigated the Royal Thai Police’s prosecution of Hobbs back in 2014 on false
 8   charges of engaging in sex with a Thai minor. The Royal Thai Police ended their
 9   prosecution in August of 2015, and Hobbs now seeks to recover tort damages in this
10   Court for his allegedly wrongful arrest and prosecution in Thailand.
11         Insofar as the Complaint attempts to assert two constitutional tort claims against
12   an individual federal agent, Randall Devine, those claims are asserted pursuant to the
13   implied tort liability theory of Bivens v. Six Unknown Named Agents of Fed. Bureau of
14   Narcotics, 403 U.S. 388 (1971). These two claims should, consequently, be dismissed
15   pursuant to the Supreme Court’s holding of Ziglar v. Abbasi, 137 S. Ct. 1843 (2017).
16   Neither of Hobbs’ constitutional tort claims involves a Bivens context that the Supreme
17   Court has previously approved, and several special factors weigh strongly against
18   judicially expanding Bivens liability to the new extraterritorial context of this case.
19         Insofar as the Complaint also attempts to assert two California-law tort claims, the
20   United States has exercised its right to be substituted as the defendant for those claims.
21   [Dkt. No. 19]. These two California-law claims should now be dismissed because 28
22   U.S.C. § 2680(k) bars imposing tort liability against the United States for injuries
23   sustained abroad. See United States v. Smith, 499 U.S. 160, 166 (1991) (noting that
24   Section 2680(k) precludes liability, “Congress recognized that the required substitution
25   of the United States as the defendant in tort suits filed against Government employees
26   would sometimes foreclose a tort plaintiff’s recovery altogether.”). Likewise, there is no
27   jurisdiction for maintaining tort claims against the United States when those claims
28   “aris[e] out of” libel or slander, as with Hobbs’ fourth claim. See 28 U.S.C. § 2680(h).
                                                   1
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 1          Hobbs has already pursued his legal remedies, at length, in Thailand. Hobbs
 2    alleges that in 2015 he filed three civil suits in Thailand, charging the Royal Thai Police
 3    and a Thai prosecutorial witness with misconduct in his alleged false arrest and unlawful
 4    prosecution. (Complaint ¶¶ 36, 65, 70(d), 70(f)). The Complaint does not relate the status
 5    or disposition of Hobbs’ civil suits in Thailand,1 but this attempt at bringing a fourth suit
 6    in California district court, years later, was not required for his underlying claims to be
 7    heard. Nor, given that most witnesses are Thai citizens, would this be a feasible forum.
 8          Because these legal defects in his case are fatal and cannot be cured, Hobbs’
 9    Complaint should be dismissed with prejudice.
10    II.   LEGAL STANDARDS
11          A.     Rule 12(b)(1) Standard
12          Federal courts are court of limited jurisdiction, possessing “only that power
13    authorized by Constitution and statute.” Kokkonen v. Guardian Life Ins. Co. of America,
14    511 U.S. 375, 377 (1994). “It is presumed that a cause lies outside of this limited
15    jurisdiction …, and the burden of establishing the contrary rests upon the party asserting
16    jurisdiction.” Id. (citations omitted).
17          A challenge to subject matter jurisdiction is properly decided under Fed. R. Civ. P.
18    12(b)(1), and may be asserted as either a facial or factual challenge. See White v. Lee,
19    227 F.3d 1214, 1242 (9th Cir. 2000). “In a facial attack, the challenger asserts that the
20    allegations contained in a complaint are insufficient on their face to invoke federal
21    jurisdiction.” Safe Air for Everyone v. Meyer, 373 F.3d 1035, 1039 (9th Cir. 2004), cert.
22    denied, 544 U.S. 1018 (2005). “By contrast, in a factual attack, the challenger disputes
23    the truth of the allegations that, by themselves, would otherwise invoke federal
24    jurisdiction.” Id. “In resolving a factual attack on jurisdiction, the district court may
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26           According to an article published in the Bangkok Post on November 10, 2015,
      these Thailand cases were dismissed; presumably that dismissal was due to prosecutorial
27    immunity and witness immunity under Thai law. Although not germane to deciding this
      motion, defendants note that this article also contravenes the Complaint’s allegation that
28    Hobbs did not know until much later that Devine was an FBI agent who was
      investigating him. See www.bangkokpost.com/print/725692/.
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 1    review evidence beyond the complaint without converting the motion to dismiss into a
 2    motion for summary judgment.” Id. “[The court] also need not presume the truthfulness
 3    of the plaintiffs’ allegations.” White, 227 F.3d at 1242. “Once the moving party has
 4    converted the motion to dismiss into a factual motion by presenting affidavits or other
 5    evidence properly brought before the court, the party opposing the motion must furnish
 6    affidavits or other evidence necessary to satisfy its burden of establishing subject matter
 7    jurisdiction.” Savage v. Glendale Union High Sch., Dist. No. 205, Maricopa Cnty., 343
 8    F.3d 1036, 1039 n. 2 (9th Cir. 2003), cert. denied, 541 U.S. 1009 (2004).
 9          B.     Rule 12(b)(6) Standard
10          A Rule 12(b)(6) motion tests the legal sufficiency of the complaint. “While a
11    complaint attacked by a Rule 12(b)(6) motion to dismiss does not need detailed factual
12    allegations, a plaintiff’s obligation to provide the ‘grounds’ of his ‘entitlement to relief’
13    requires more than labels and conclusions, and a formulaic recitation of the elements of a
14    cause of action will not do.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007)
15    (citations omitted). Rather, the allegations of the complaint “must be enough to raise a
16    right to relief above the speculative level.” Id. To survive a motion to dismiss, a plaintiff
17    must allege “enough facts to state a claim to relief that is plausible on its face.”
18    Twombly, 550 U.S. at 570; Ashcroft v. Iqbal, 556 U.S. 662, 129 S. Ct. 1937, 1949
19    (2009). “The plausibility standard is not akin to a ‘probability requirement,’ but it asks
20    for more than a sheer possibility that a defendant has acted unlawfully. Where a
21    complaint pleads facts that are ‘merely consistent with’ a defendant’s liability, it stops
22    short of the line between possibility and plausibility of ‘entitlement to relief.’” Iqbal, 556
23    U.S. at 678 (quoting Twombly, 550 U.S. at 556).
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 1    III.   THE ALLEGATIONS OF PLAINTIFF HOBBS’ COMPLAINT AND ITS
 2           FOUR TORT CLAIMS
 3           A.    The Four Tort Claims, The Two Named Defendants, And The
 4                 Unspecified Anonymous Defendants
 5           The essence of Hobbs’ Complaint is that Thai and American authorities knew
 6    another man—Steven James Strike—had committed certain sexual crimes in Thailand in
 7    2013, but these authorities nonetheless prosecuted Hobbs for those crimes. Seeking to
 8    recover tort damages for his Thailand arrest and prosecution, the Complaint asserts two
 9    Bivens claims against Devine, an individual FBI Special Agent: 2
10           1.    Fourth and Fourteen Amendment Right Against Malicious Prosecution
11           2.    Fourth and Fourteen Amendment Right Against Unreasonable Detention
12                 and False Arrest
13    And the Complaint asserts two California law tort claims against the United States: 3
14           3.    Intentional Infliction of Emotional Distress
15           4.    Libel, Slander and Defamation
16    The Complaint’s repeated references to unspecified collective “Defendants” evidently
17    includes the Anti Human Trafficking and Child Abuse Center in Thailand (an NGO) and
18    its director Parison Noja, a Thai national who Hobbs brought an unsuccessful civil suit
19    against in Thailand. See Complaint ¶¶ 25, 35, 37, 39.
20           B.    2013—The Sex Crimes in Pattaya
21           Hobbs’ narrative begins with a partnership that he formed in Pattaya. Id. ¶¶ 21-23.
22    Hobbs owned a van that was normally parked at Clark’s residence in Pattaya, where
23    Clark had rented the residence’s second floor to a third man, Steven James Strike.
24           At some point in 2013, Hobbs claims that the Defendants “directly or indirectly”
25    solicited a fourteen year old Thai boy to engage in sexual relations with suspected
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      2
27    3
             See Complaint pp. 17-19.
             See Complaint pp. 19-20. The United States has been substituted as the defendant
28    for these two California-law tort claims, replacing Devine [Dkt. No. 19], but the
      underlying allegations remain the same as when Devine was the named defendant.
                                                   4
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 1    pedophiles. Id. ¶ 24. The Defendants allegedly directed this boy to have sex with Strike
 2    and report back to them. Id. ¶¶ 25-27. The boy identified Clark’s residence as where he
 3    was taken for the sex acts. The Defendants allegedly assumed that Hobbs resided there,
 4    with his van, and so he was the guilty man. Id.
 5          In October of 2013, the Defendants allegedly learned that the Thai boy had
 6    actually had sex with Strike, not Hobbs. Id. ¶ 31. The Defendants allegedly instructed
 7    Thai Immigration Police to arrest Strike and deport him to Hawaii. Id. ¶ 32. Allegedly,
 8    the Defendants somehow concealed Strike’s arrest and deportation from the Pattaya
 9    police at this time, even though Hobbs alleges that Strike was arrested and deported by
10    the Thai police.4 Id. ¶ 33.
11          C.     2014—The Royal Thai Police File Criminal Charges Against Hobbs
12          In December of 2013, Hobbs claims that the “Defendants” falsely informed
13    Pattaya police that Hobbs had engaged in pedophilia at the Pattaya address. Id. Hobbs
14    claims that the Defendants accused him because they wanted to conceal their direction of
15    a minor to engage in unlawful sex, as well as their negligent investigation.5 Id. ¶ 34.
16          On June 8, 2014, the Royal Thai Police arrested Hobbs. Id. ¶ 8. Devine
17    interrogated Hobbs that same day, and allegedly told him that he was merely acting as a
18    “consultant to Plaintiff,” working with the American Embassy to protect Hobbs. 6 Id. ¶
19    10. Hobbs alleges that “Defendants invited the local media to view the arrest and
20    interrogation by Defendant Devine and others, of Plaintiff Hobbs and, as a result, his
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22    4
             Far from being kept ‘secret,’ Strike’s arrest and deportation to Hawaii was openly
23    reported by news media at this time, e.g. a December 12, 2013 article:
      http://www.hawaiinewsnow.com/story/24208859/maui-man-charged-with-sexually-
24    assaulting-minor-found-in-thailand.
      5
             It should be emphasized that this cover-up theory makes no sense. Instigating a
25    new Royal Thai Police prosecution of the Pattaya sexual crimes would accomplish the
      exact
      6
             opposite function—it would bring new attention onto what had happened.
26           In reality, Hobbs has posted numerous articles and documents on the Internet in
      which he asserts that Devine was an FBI agent who read him his Miranda rights at the
27    start of their June 8, 2014 interview. See, e.g., www.bangkokpost/com/print/725692. The
      Complaint’s contrary allegations reflect Hobbs’ effort to plead his way around the
28    statutes of limitation, which facially bar his belated civil lawsuit in this Court.

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 1    image was broadcasted across all Thai national television and other media.” 7 Id. ¶ 17. He
 2    further claims that the Defendants made defamatory statements in Thai news media. Id.
 3    ¶¶ 93-94. Hobbs does not identify any allegedly defamatory statements, however.
 4          D.     2015—Hobbs Files Multiple Civil Actions in Thailand, and the Thai
 5                 Criminal Charges Against Him Are Dropped
 6          By February 12, 2015, Hobbs had filed a civil lawsuit in Thailand against the
 7    Royal Thai Police. Id. ¶ 50. On March 17, 2015, Hobbs filed a second civil lawsuit
 8    against “cooperative witness Parison Noja.” Id. ¶ 70(d). On June 4, 2015, Hobbs filed
 9    yet another civil action against the Royal Thai Police. Id. ¶ 70(f).
10          On August 6, 2015, the Defendants allegedly approved the Thai Attorney
11    General’s issuance of a final non-prosecution order against Hobbs. Id. ¶ 55.
12          E.     2016—Hobbs’ Administrative Tort Claims
13          Hobbs claims that in April of 2016 he learned that Special Agent Devine “had
14    orchestrated the arrest and both provided false information to the RTP and instructed
15    RTP to prosecute Plaintiff, and did so with knowledge that Plaintiff was factually
16    innocent as to the allegations against Plaintiff.” Id. ¶ 11. Hobbs filed SF 95 claims
17    around May 21, 2016. Id. ¶ 68. He claims that he filed a revised SF 95 claim around
18    September 9, 2016, which was denied by a DOJ letter dated July 24, 2017. Id.
19          F.     2018—Hobbs’ Complaint in this Court
20          On January 18, 2018, Hobbs filed his Complaint [Dkt. No. 1].
21    IV.   HOBBS’ GRIEVANCES ARE NOT ACTIONABLE AS BIVENS CLAIMS
22          AGAINST SPECIAL AGENT RANDALL DEVINE
23          The Supreme Court disfavors implied causes of action like Bivens, and has
24    narrowly limited the scope of Bivens liability. See Ashcroft v. Iqbal, 556 U.S. 662, 675
25    (2009) (“Because implied causes of action are disfavored, the Court has been reluctant to
26
      7
27          The Complaint does not explain how Hobbs’ complaints about this media
      publicizing of his interrogation by Devine and other FBI agents on June 8, 2014 can be
28    squared with Hobbs’ contradictory allegation that, until April of 2016, he believed that
      Devine was merely his ‘consultant,’ who was working to help him.
                                                  6
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 1    extend Bivens liability ‘to any new context or new category of defendants.’”). A motion
 2    to dismiss pursuant to Rule 12(b)(6) is a proper way to challenge whether a Bivens
 3    remedy exists. See Morrow v. United States, 723 F. Supp. 2d 71, 78 (D.D.C. 2010).
 4          The narrow scope of Bivens claims was recently affirmed in Ziglar v. Abbasi, 137
 5    S. Ct. 1843 (2017), where the Supreme Court delineated the specific circumstances
 6    under which Bivens claims may be asserted against individual federal employees. In
 7    rejecting the Abbasi plaintiffs’ attempt to assert tort claims premised on allegedly-
 8    unconstitutional detention policies, the Supreme Court noted that it had only approved
 9    three types of Bivens liability, and had otherwise refused to extend Bivens to any new
10    context or category of defendant “for the past 30 years.” Id., at 1857.
11          Abbasi sets forth a two-part test to determine whether a Bivens claim may
12    proceed. A district court must first consider whether the claim presents a new context
13    from the three specific contexts that the Supreme Court has previously authorized. If so,
14    the court must then apply a “special factors” analysis to determine whether “special
15    factors counsel hesitation” in expanding Bivens absent affirmative action by Congress.
16    Abbasi, 551 U.S. at 1857, 1875.
17          A.     Plaintiff Hobbs’ Claims Arise In A New Bivens Context
18          The court must first determine whether the asserted claim involves a “new
19    context” by comparing it to the three specific Bivens claims that the Supreme Court has
20    previously authorized. See 137 S. Ct. at 1859-60. The Abbasi decision thus examined the
21    plaintiff’s claims regarding the government’s detention of aliens, and found that they
22    involved a new Bivens context because “[t]hose claims bear little resemblance to the
23    three Bivens claims the Court has approved in the past: a claim against FBI agents for
24    handcuffing a man in his own home without a warrant; a claim against a Congressman
25    for firing his female secretary; and a claim against prison officials for failure to treat an
26    inmate’s asthma.” Id. at 1860. Relative to those three claims, Abbasi discusses when
27    differences are meaningful enough to make a context new, which may include:
28
                                                    7
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 1          [T]he rank of the officers involved; the constitutional right at issue; the
 2          generality or specificity of the official action; the extent of judicial guidance
            as to how an officer should respond to the problem or emergency to be
 3          confronted; the statutory or other legal mandate under which the officer was
 4          operating; the risk of disruptive intrusion by the Judiciary into the
            functioning of other branches; or the presence of potential special factors
 5          that previous Bivens cases did not consider.
 6
      Id. at 1859-60. Even relatively minor differences are sufficient:
 7
            Yet even a modest extension is still an extension. And this case does seek to
 8          extend Carlson to a new context. As noted above, a case can present a new
 9          context for Bivens purposes if it implicates a different constitutional right;
            if judicial precedents provide a less meaningful guide for official conduct;
10          or if there are potential special factors that were not considered in previous
11          Bivens cases.
12    Id. at 1864. Here, Hobbs’ constitutional tort claims against Devine bear no resemblance
13    to the claims in Davis (5th Amendment gender discrimination) or Carlson (8th
14    Amendment medical indifference). The Bivens decision itself involved the Fourth
15    Amendment right against unreasonable searches and seizures, but as the Supreme Court
16    has described Bivens, it involved “a claim against FBI agents for handcuffing a man in
17    his own home without a warrant.” Abbasi, 137 S. Ct. at 1860. No malicious prosecution
18    claim or arrest warrant was involved.
19          In contrast to Bivens, Hobbs’ Complaint does not involve FBI agents bursting into
20    his home and handcuffing him without a warrant. Instead, Hobbs claims that his Fourth
21    and Fourteenth Amendment rights were violated because the collective Defendants,
22    including Devine, gave false information and unjustified directives that caused his
23    arrest, detention, and criminal prosecution by the Royal Thai Police. The liability theory
24    is indirect. Unlike Bivens, Hobbs’ Complaint attacks a coalition of shadowy
25    “Defendants” who allegedly controlled various Thai agents and witnesses, including
26    Thai police and Thai prosecutors. The investigation, arrest, prosecution, detention, and
27    media publicizing of the case was conducted by a variety of foreign nationals and
28    entities, acting pursuant to foreign law.
                                                   8
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 1          The lead case on whether an attempted extraterritorial application of American
 2    constitutional law raises a ‘new context’ for Bivens claims pursuant to Abbasi’s dictates
 3    is the Fifth Circuit’s recent ruling in Hernandez v. Mesa, 885 F.3d 811 (5th Cir. 2018)
 4    (en banc). In Hernandez, a 15-year old Mexican boy was shot and killed from across the
 5    border by a U.S. Border Patrol agent. The boy’s parents filed Bivens claims against the
 6    agent, alleging that the shooting violated the Fourth and Fifth Amendments. The district
 7    court dismissed both claims. 8 On review, the Fifth Circuit affirmed dismissal of the
 8    Fourth Amendment claim, but held that the shooting violated the Fifth Amendment, and
 9    the officer was not entitled to qualified immunity. 9 On rehearing en banc, the Fifth
10    Circuit affirmed dismissal of both Bivens claims, finding there was no Fourth
11    Amendment violation, and even if there was a Fifth Amendment violation, the claim was
12    barred by qualified immunity. 10
13          The Supreme Court vacated and remanded. See United States v. Hernandez, 137
14    S. Ct. 2003 (2017). The Supreme Court’s opinion opened by stating “[t]he Court turns
15    first to the Bivens question, which is ‘antecedent’ to the other questions presented.” Id. at
16    2006 (citing Wood v. Moss, 134 S. Ct. 2056, 2066 (2014)). Citing Abbasi, the Supreme
17    Court held that the Fifth Circuit must decide how it applies to the plaintiffs’ Bivens
18    claims. The Supreme Court held that it would be “imprudent” to decide whether a Fourth
19    Amendment violation had occurred, rather than first determining whether a Bivens claim
20    would even be available for such a violation. Id. at 2007. The Supreme Court likewise
21    found that the Fifth Amendment claim also required such a threshold Abbasi analysis. Id.
22          Conducting that required threshold Abbasi analysis on remand, the Fifth Circuit
23    determined that neither the Fourth or Fifth Amendment claim—regardless of whether the
24    alleged constitutional violation had actually occurred—could be brought as a Bivens
25
26
      8
27    9
             Hernandez v. U.S., 802 F. Supp. 2d 834 (W.D. Tex. 2011).
      10
             See Hernandez v. U.S., 757 F.3d 249, 267 (5th Cir. 2014);
28           Hernandez v. U.S., 771 F.3d 818 (5th Cir. 2014) (en banc); and Hernandez v.
      U.S., 785 F.3d 117 (5th Cir. 2015).
                                                 9
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 1    claim against the Border Patrol agent. See 885 F.3d at 814-24. The Fifth Circuit’s
 2    reasoning, which is largely dispositive of the parallel Bivens issues here, was as follows:
 3          We hold that this is not a garden variety excessive force case against a
            federal law enforcement officer. The transnational aspect of the facts
 4
            presents a ‘new context’ under Bivens, and numerous ‘special factors’
 5          counsel against federal courts’ interference with the Executive and
            Legislative branches of the federal government.
 6
 7    Id. at 814. The Fifth Circuit’s en banc holding in Hernandez closely parallels the pre-
 8    Abbasi decision of Meshal v. Higgenbotham, 804 F.3d 417 (D.C. Cir. 2015). Meshal
 9    involved Bivens claims that a U.S. citizen had filed against several FBI agents, alleging
10    that these agents violated his Fourth and Fifth Amendment rights when they detained,
11    interrogated, and tortured him over several months in three African countries while
12    conducting a terrorism investigation. The D.C. Circuit noted that “while Bivens
13    remedies for ill-executed criminal investigations are common, extraterritorial
14    application is virtually unknown.” Id. at 418.
15          Here, Hobbs’ attempted Bivens claims against Devine involve (1) complex issues
16    of foreign law; (2) novel attempts at the extraterritorial application of American
17    constitutional law; and (3) extraordinary allegations about the supposed subordination of
18    Thai police and prosecutorial authorities to the FBI when arresting and prosecuting
19    Hobbs in Thailand. Thai investigations, arrests, and prosecutions are not required to
20    conform to the U.S. Constitution. If there was no prosecutorial wrong under Thai law
21    (indeed Hobbs’ two civil actions against the Thai police were evidently dismissed), then
22    Hobbs’ arrest and prosecution cannot be treated as if they had instead constructively
23    taken place within the United States, under its criminal and constitutional laws.
24          The bottom line is that Hobbs’ claims against Special Agent Devine plainly
25    involve a new Bivens context relative to the three specific contexts that the Supreme
26    Court previously approved in Bivens, Carlson, and Davis v. Passman. The test that
27    Abbasi delineates for whether there is a new Bivens context is easily satisfied, and this
28    case is new and unusual in many respects relative to the facts and law of Bivens itself.
                                                  10
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 1    The Court must therefore analyze whether it should create an extended form of implied
 2    constitutional tort liability against Special Agent Devine pursuant to the framework
 3    delineated in Abbasi.
 4          B.     Several Special Factors Weigh Strongly Against Creating An Implied
 5                 Bivens Remedy In The New Context Of Plaintiff Hobbs’ Claims
 6          Once a district court determines that a Bivens claim arises in a new context, as the
 7    second step, the court must examine whether ‘special factors’ counsel hesitation in
 8    creating a new Bivens remedy. “The Court’s precedents now make clear that a Bivens
 9    remedy will not be available if there are ‘special factors counselling hesitation in the
10    absence of affirmative action by Congress.’” Abbasi, 137 S. Ct. at 1857.11 Abbasi
11    clarifies what such ‘special factors’ are:
12          This Court has not defined the phrase “special factors counselling
            hesitation.” The necessary inference, though, is that the inquiry must
13
            concentrate on whether the Judiciary is well suited, absent congressional
14          action or instruction, to consider and weigh the costs and benefits of
            allowing a damages action to proceed. Thus, to be a “special factor
15
            counselling hesitation,” a factor must cause a court to hesitate before
16          answering that question in the affirmative.”
17    Id., 1857-58.
18                 1.     Alternative Remedies Were Available for Hobbs’ Grievances
19          One important factor that weighs against creating new types of Bivens liability is
20    whether alternative methods of seeking relief existed relative to the harm. As the
21    Supreme Court has explained, “[W]hen alternative methods of relief are available, a
22    Bivens remedy usually is not.” Abbasi, 137 S. Ct. at 1863. Because of the unusual
23    extraterritorial facts of this case, the alternative remedial processes available within
24    Thailand predominate here, both via Thai criminal law and Thai civil law.
25          For criminal remedies, Hobbs had the normal remedial processes provided by the
26    Thai criminal law system. He alleges only a three-day detention in Thai prison
27
      11
28         Quoting Carlson v. Green, 446 U.S. 14, 18 (1980), which in turn is quoting
      Bivens, 403 U.S. at 396.
                                              11
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 1    (Complaint, ¶ 57(h)). He alleges that the criminal charges against him were dropped,
 2    without a trial or conviction. Id. ¶ 55. Bivens liability was not required to prevent a
 3    prolonged detention or false conviction. Cf. Abbasi, 137 S. Ct. at 1862-63 (citing the
 4    availability of injunctive relief and habeas petitions for its detained plaintiffs).
 5          For civil remedies, Hobbs alleges that in 2015 he filed three civil suits in Thailand
 6    seeking to recover damages for his alleged false arrest and malicious prosecution—two
 7    suits against the Royal Thai Police, and one suit against a prosecutorial witness, Parison
 8    Noja. See Complaint, ¶¶ 50, 65, 70(d), 70(f). While Hobbs presumably did not prevail in
 9    any of his three Thailand civil suits (his Complaint does not say), the availability of
10    alternative remedial processes does not turn on whether the plaintiff actually succeeds.
11    Far from guaranteeing the plaintiff success in his claims, alternative remedial processes
12    may preclude extending Bivens liability to a new context when they do not offer any
13    form of monetary relief, even for claims that are found to be meritorious:
14          Of course, administrative procedures or a habeas petition provides no avenue
            for monetary recovery, unlike a Bivens action. But there is no precedent
15
            suggesting that the unavailability of money is a factor that carries any weight
16          in determining the expansion of a Bivens remedy. Rather, the emphasis is
            simply on the existence of an avenue to protect the right, not the method of
17
            protection that Congress or the Executive has chosen.
18
      Gonzalez v. Hasty, 269 F. Supp. 3d 45, 61-62 (E.D.N.Y. 2017). Compare Bush v. Lucas,
19
      462 U.S. 367 (1983), where the Supreme Court declined to recognize a First Amendment
20
      retaliation claim under Bivens because the Civil Service Commission administered a
21
      non-monetary statutory review process that could address the claim.
22
            Finally, in addition to his three Thai civil suits, Hobbs alleges that “Plaintiff also
23
      filed a Federal Tort Claims Act claim, commencing the administrative process. Plaintiff
24
      submitted his Standard Form 95 around May 21, 2016.” Complaint, ¶ 68. He alleges that
25
      his claims were denied on May 27, 2017. Hobbs’ Complaint explains that “he will not be
26
      asserting a claim under the FTCA” (id.), but to the extent that Congress intended to
27
      provide a statutory monetary remedy for foreign torts committed by agents of the federal
28
                                                    12
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 1    government, Hobbs had that alternative remedial process available, and for some time he
 2    pursued it. Cf. Free v. Peikar, 2018 WL 905388 (E.D. Cal. Feb. 15, 2018) (alternative
 3    remedies were available, including FTCA, precluding Bivens claim).
 4          Hobbs had alternative processes for seeking relief regarding his grievances—and
 5    he vigorously pursued them—as opposed to filing novel Bivens claims in federal district
 6    court against Special Agent Devine, several years later.
 7                 2.     Congressional Legislation Bars Tort Liability For Injuries That
 8                        Federal Agents Cause Outside Of The United States.
 9          Another special factor militating against creating Bivens liability in a new context
10    is whether Congressional activity indicates that Congress may not want tort liability to
11    be expanded in that new context via judicial implication. “Sometimes there will be doubt
12    because the case arises in a context in which Congress has designed its regulatory
13    authority in a guarded way, making it less likely that Congress would want the Judiciary
14    to interfere.” Abbasi, 137 S. Ct. at 1858. “If a statute does not evince Congress’ intent ‘to
15    create the private right of action asserted,’ no such action will be created through judicial
16    mandate. Similar caution must be exercised with respect to damages actions implied to
17    enforce the Constitution itself.” Id. at 1848 (internal citations omitted). Importantly,
18    “legislative action suggesting that Congress does not want a damages remedy is itself a
19    factor counseling hesitation.” Id. at 1865.
20          When enacting the Federal Tort Claims Act, Congress created an explicit statutory
21    exception to the federal government’s tort liability, barring “Any claim arising in a
22    foreign country.” 28 U.S.C. § 2680(k). As discussed in detail below, this extraterritorial
23    exception bars all tort claims for injuries that occur abroad, regardless of whether the
24    alleged torts were committed or directed by federal agents acting from within the United
25    States. Congress manifestly did not want the federal government subjected to such
26    extraterritorial tort claims, because Congress carved out that specific category of tort
27    claims and legislatively barred it. That Congressional intent, as expressed in a statutory
28    context, weighs heavily against judicially implying extraterritorial Bivens liability
                                                    13
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 1    against individual federal agents (like Devine) in a non-statutory context. See
 2    Hernandez, 885 F.3d at 820 (“Congress’s failure to provide a damages remedy in these
 3    circumstances is an additional factor counseling hesitation … Relevant statutes confirm
 4    that Congress’s failure to provide a federal remedy was intentional.”).
 5          In Meshal, supra, the D.C. Circuit explained that the plaintiff’s Bivens case not
 6    only involved national security issues, “it also involves different legal components—the
 7    extraterritorial application of constitutional protections. Such a different context requires
 8    us to think anew.” 804 F.3d at 424. Put simply:
 9          Meshal downplays the extraterritorial aspect of this case. But the
10          extraterritorial aspect of the case is critical. After all, the presumption
            against extraterritoriality is a settled principle that the Supreme Court applies
11
            even in considering statutory remedies. If Congress had enacted a general
12          tort cause of action applicable to Fourth Amendment violations committed
13          by federal officers (a statutory Bivens, so to speak), that cause of action
            would not apply to torts committed by federal officers abroad absent
14
            sufficient indication that Congress meant the statute to apply
15          extraterritorially. Whether the reason for reticence is concern for our
16          sovereignty or respect for other states, extraterritoriality dictates constraint
            in the absence of clear congressional action.
17
18    Id. (internal citations omitted). Indeed “the Supreme Court has never ‘created or even

19    favorably mentioned a non-statutory right of action for damages on account of conduct

20    that occurred outside the borders of the United States.’” Id. at 426 (quoting Vance v.

21    Rumsfeld, 801 F.3d 193, 198-99 (7th Cir. 2012)).

22          In Abbasi, the Supreme Court discussed how Congress’s enaction of the Prisoner

23    Litigation Reform Act might suggest that Congress did not want Carlson-type damages

24    remedies to be extended to other types of prisoner mistreatment. See 136 S. Ct. at 1865

25    (noting that “legislative action suggesting that Congress does not want a damages

26    remedy is itself a factor counseling hesitation.”). Similarly, 28 U.S.C. § 2680(k) strongly

27    counsels hesitation against judicially extending Bivens liability to encompass Hobbs’

28    claims regarding his Thai criminal arrest and prosecution.

                                                   14
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 1                 3.    Hobbs’ Claims Raise Foreign Policy Concerns
 2          Another special factor counseling against expanding Bivens liability by judicial
 3    implication in the new context of Hobbs’ claims is raised by the Complaint’s reliance on
 4    allegations that various Thai nationals and entities, including the Royal Thai Police and
 5    Thai Attorney General, acted as agents controlled by the FBI. See Complaint ¶¶ 41, 44,
 6    51, 55. Such allegations implicate United States foreign policy, insofar as Hobbs claims
 7    that the Royal Thai Police and Thailand Attorney General—who ostensibly should
 8    operate pursuant to Thai domestic policy and Thai law—were in fact FBI puppets.
 9    “Extending Bivens in this context also risks interference with foreign affairs and
10    diplomacy more generally. … [T]he United States government is always responsible to
11    foreign sovereigns when federal officials injure foreign citizens on foreign soil.”
12    Hernandez, 885 F.3d at 819. Although Hernandez involved a tort injury caused to a
13    foreign citizen, extending Bivens to encompass a claim based on alleged subversion of
14    Thai government officials by the FBI would similarly raise foreign policy concerns.
15          “Matters touching on national security and foreign policy fall within an area of
16    executive action where courts hesitate to intrude absent congressional authorization.”
17    Meshal, 804 F.3d at 426 (finding that judicial inquiry into such matters would raise
18    separation of powers concerns that precluded extending Bivens liability). Unlike cases
19    where federal officers take direct action against an American citizen (like Bivens itself),
20    Hobbs’ claims involve the alleged complicity of a variety of Thai government officials.
21    This issue counsels hesitation. Cf. Hernandez, 885 F.3d at 819-20 (“Extending Bivens in
22    this context also risks interference with foreign affairs and diplomacy more generally.”).
23          Moreover, relative to an ordinary Bivens case, it would be very difficult to
24    conduct discovery into Plaintiff’s allegations. See Hernandez, 885 F.3d at 822
25    (“Extraterritoriality, moreover, involves a host of administrability concerns…”). Even if
26    such discovery could be conducted to some degree, and the Thai-language barrier
27    overcome, it would be difficult, and probably impossible, to depose the Thailand
28    Attorney General and the Royal Thai Police. Without depositions, Hobbs’ claims would
                                                  15
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 1    have to be decided on the basis of speculation about how and why these Thai
 2    governmental entities supposedly acted as they did. Thailand is not a signatory to the
 3    Hague Evidence Convention, and any depositions of Thai nationals would have to be
 4    ‘voluntary.’ 12 It is unlikely that Thai government officials or agents would so volunteer.
 5          Relative to criminal prosecutions that are brought within the United States
 6    pursuant to American criminal law, this is an extremely unusual case. Hobbs attempts to
 7    allege false arrest and malicious prosecution constitutional torts against Devine, while
 8    conceding that he was actually arrested and prosecuted by the Royal Thai Police in
 9    Thailand under Thai law. To charge Devine with false arrest, Hobbs would be required
10    to show that Devine had “ordered or otherwise procured” his arrest by the Royal Thai
11    Police, and that his arrest was conducted in a way that, despite being extraterritorial and
12    governed by Thai domestic law, actually violated the Fourth Amendment. See Lacey v.
13    Maricopa County, 693 F.3d 896, 918 (9th Cir. 2012) (“To maintain an action for false
14    arrest against Wilenchik, Lacey must plead facts that would show Wilenchik ordered or
15    otherwise procured the arrests and the arrests were without probable cause.”). Similarly,
16    to charge Devine with malicious prosecution, Hobbs would be required to allege facts
17    showing “that the defendants prosecuted [him] with malice and without probable cause,
18    and that they did so for the purpose of denying [him] equal protection or another specific
19    constitutional right.” Id. (quoting Freeman v. City of Santa Ana, 68 F.3d 1180, 1189 (9th
20    Cir. 1995)). Hobbs’ malicious prosecution claim would require him to establish that his
21    Thailand prosecution was actually conducted by defendant Devine for the purpose of
22    denying him his rights under the United States Constitution, rather than being conducted
23    pursuant to the discretion exercised by Thai prosecuting authorities under Thai law.13
24
      12
25    13
             See https://th.usembassy.gov/u-s-citizen-services/depositions/
             Hobbs likewise fails to allege that Devine acted with the ‘malice’ that is required
26    to state a malicious prosecution tort. See Conyers v. U.S. Fish and Wildlife Service, 572
      Fed. Appx. 842, 844 (“Conyers’ contention that the filing of charges without probable
27    cause is sufficient to establish malice is incorrect under California law. There must be
      sufficient allegations of either actual hostility or ill will on the part of the defendant, or
28    allegation of an intent to deliberately misuse the legal process for personal gain to
      support a claim for malicious prosecution.”). Incompetence is not enough.
                                                     16
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 1    Even if one accepted, arguendo, that a convoluted FBI-Thai government conspiracy had
 2    somehow violated Hobbs’ Fourth Amendment rights through the prosecutorial actions of
 3    Thai authorities, it would go far beyond the facts of Bivens to judicially impose tort
 4    liability against an individual American citizen—Randall Devine—as an implied non-
 5    statutory tort remedy for that putative constitutional violation.
 6          The Supreme Court has warned that “[i]f there are sound reasons to think
 7    Congress might doubt the efficacy or necessity of a damages remedy as part of the
 8    system for enforcing the law and correcting a wrong, courts must refrain from creating
 9    that kind of remedy.” Abbasi, 137 S. Ct. at 1848. Here, there are numerous sound
10    reasons for thinking that Congress might doubt—and indeed would outright reject—the
11    efficacy and necessity of the novel Bivens damages remedies that Hobbs seeks. As in
12    Hernandez, “this is not a close case.” 885 F.3d at 823 (concluding that “[e]ven before
13    Abbasi clarified the ‘special factors’ inquiry, we agreed with out sister circuits that ‘[t]he
14    only relevant threshold—that a factor ‘counsels hesitation’—is remarkably low.’”).
15          Accordingly, Hobbs’ constitutional claims against Devine should be dismissed as
16    exceeding the scope of Bivens liability authorized by the Supreme Court.
17    V.    THE FOREIGN COUNTRY EXCEPTION OF 28 U.S.C. § 2680(k) BARS
18          HOBBS’ TORT CLAIMS AGAINST THE UNITED STATES BECAUSE
19          THE ALLEGED INJURIES OCCURRED IN THAILAND
20          The United States has exercised its right to be substituted as the defendant for
21    Hobbs’ two California-law tort claims, which the Complaint had originally pled against
22    Devine as an individual [Dkt. No. 19]. 14 These claims should now be dismissed because
23    the injuries complained of occurred in Thailand, and so cannot constitute the basis for
24    asserting a tort claim against the United States. See 28 U.S.C. § 2680(k).
25
      14
26          Hobbs’ contention that California law would govern his tort claims is questionable
      from a conflict-of-laws standpoint, but that issue need not be resolved when deciding
27    this motion. Cf. Sosa, 542 U.S. at 710 (“In sum, current flexibility in choice-of-law
      methodology gives no assurance against foreign substantive law if federal courts follow
28    headquarters doctrine to assume jurisdiction over tort claims against the Government for
      foreign harm.”).
                                                   17
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 1          The Federal Tort Claims Act waives the United States’ sovereign immunity for
 2    certain types of tort claims; absent such a statutory waiver, there is no jurisdiction to
 3    maintain a tort claim against the United States. Specific statutory exceptions to the
 4    FTCA’s waiver of sovereign immunity are set forth in 28 U.S.C. § 2680. Among these
 5    exceptions is Section 2680(k), the foreign country exception, which provides that the
 6    United States does not waive its sovereign immunity for “[a]ny claim arising in a foreign
 7    country.”
 8          Until the year 2004, some federal courts had held that Section 2680(k) did not bar
 9    tort claims where federal agents acting inside the United States directed and caused tort
10    injuries outside of the United States, a theory called the “headquarters doctrine.” The
11    Supreme Court permanently ended that approach, however, in Sosa v. Alvarez-Machain,
12    542 U.S. 692 (2004). In Sosa, the plaintiff claimed that his false arrest in Mexico was
13    caused by the wrongful directions of DEA agents who were acting from within the
14    United States. He filed an FTCA suit within the Central District of California. The Ninth
15    Circuit held that the United States was indeed liable to the plaintiff under the FTCA for
16    the tort of false arrest under California law. Reversing that decision, however, the
17    Supreme Court held that “Not only does domestic proximate causation under the
18    headquarters doctrine fail to eliminate application of the foreign country exception, but
19    there is good reason to think that Congress understood a claim ‘arising in’ a foreign
20    country in such a way as to bar application of the headquarters doctrine.” 542 U.S. at
21    705. The Supreme Court unambiguously concluded that “We therefore hold that the
22    FTCA’s foreign country exception bars all claims based on any injury suffered in a
23    foreign country, regardless of where the tortious act or omission occurred.” Id. at 712.
24    The place of injury thus controls.
25          The D.C. Circuit subsequently clarified that this statutory exception to tort liability
26    (1) applies to claims in which the United States is substituted as the defendant in place of
27    individual federal agent defendants; and (2) cannot be pled around by alleging secondary
28    injuries that are derivative of the primary foreign-country injury:
                                                   18
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 1          Because the alleged actions of the individual CIA Defendants were within
            the scope of their employment, Harbury’s claims against the individual CIA
 2
            Defendants are properly converted into claims against the Government under
 3          the FTCA. But Harbury’s FTCA claims against the Government fall
            squarely within the FTCA’s exception for claims ‘arising in a foreign
 4
            country.’ In particular, Harbury’s claims on behalf of her husband's estate
 5          arise in Guatemala because he suffered the alleged injuries there. And to the
            extent Harbury alleges her own emotional injuries in the United States as a
 6
            result of the death of her husband, those derivative claims similarly arise in
 7          Guatemala for purposes of the FTCA because they are based entirely on the
            injuries her husband suffered there. A plaintiff in Harbury’s situation cannot
 8
            plead around the FTCA’s foreign-country exception simply by claiming
 9          injuries such as ‘emotional distress’ that are derivative of the foreign-
            country injuries at the root of the complaint.
10
11    Harbury v. Hayden, 522 F.3d 413, 422–23 (D.C. Cir. 2008) (internal citations omitted)
12          Hobbs’ Complaint alleges two California state-law torts: Intentional infliction of
13    emotional distress (his third claim, Complaint ¶¶ 84-91) and libel, slander, and
14    defamation (his fourth claim, Complaint ¶¶ 92-97). When he suffered these alleged
15    wrongs, Hobbs was a resident of Thailand. As a result of his arrest and prosecution in
16    Thailand, he claims to have relocated from Thailand to Malaysia, and divorced his Thai
17    wife. (Complaint ¶ 59). He complains that his defamation took place in Thailand. (Id. ¶¶
18    93-94). This case involves the classic foreign injury that 28 U.S.C. § 2680(k) bars from
19    serving as the basis for a tort claim against the United States. 15 Hobbs’ claims against the
20    United States should be dismissed accordingly.
21
22
23
24
      15
             Even if the United States had not exercised its right to be substituted as defendant
25    for Plaintiff’s California-law tort claims against Devine, there still would be no
      jurisdiction for the claims in this Court. Hobbs’ Complaint seeks to invoke diversity
26    jurisdiction for his California-law tort claims (id. ¶ 4), but diversity jurisdiction is not
      available to a U.S. citizen who resides in a foreign nation. See Louisiana Mun. Police
27    Employees’ Retirement System v. Wynn, 829 F.3d 1048, 1056-57 (9th Cir. 2016). Here,
      Hobbs alleges that he is “a resident of Malaysia and a citizen of the United States of
28    America.” (Complaint ¶ 1).
                                                    19
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 1    VI.   THE LIBEL AND SLANDER EXCEPTION OF 28 U.S.C. § 2680(h) BARS
 2          HOBBS’ LIBEL, SLANDER, AND DEFAMATION CLAIM AGAINST THE
 3          UNITED STATES
 4          28 U.S.C. § 2680(h) creates an additional statutory exception to the FTCA’s
 5    waiver of sovereign immunity, barring the assertion against the United States of “any
 6    claim arising out of … libel [or] slander”. Thus “there is no jurisdiction for FTCA claims
 7    of libel and slander.” Gartner v. S.E.C., 913 F. Supp. 1372, 1381 (C.D. Cal. 1995).
 8    Hobbs’ fourth claim for libel, slander, and defamation against the United States is thus
 9    also subject to dismissal on this independent basis.
10    VII. CONCLUSION
11          Plaintiff Hobbs’ Complaint should be dismissed without leave to amend.
12
13     Dated: July 13, 2018                      Respectfully submitted,
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